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8 Wilbur Road

New Hartford, NY 13413
(315) 601-0430
Jasonbz4@yahoo.com
October 1, 2009

Hon. Gustave J. DiBianco

United States Magistrate Judge
Federal Building and U.S. Courthouse
P.O. Box 7396

Syracuse, New York 13261-7396

Re: Zhou v. State University of New York Institute of Technology, 6:08-CV-0444 (DNH) (GJD)
Discovery hearing date

Dear Judge DiBianco:

| respectfully submit this letter to request that the discovery hearing for October 16, 2009 be
postponed to around middie of November, 2009 for the following reasons:

1. Defendants have promised me to give me the response of my second Document Request (which
was sent on or about July 6, 2009) by September 25, 2009. | have not received it yet.

2. lamin the process of retaining a counsel to appear in court starting with the discovery hearing,
which should satisfy Defendants’ counsels, but need some extra time.

This is also to certify that | severed a copy of entire my September 23, 2009 submission to counsel for
defendants on September 23, 2009 via first-class U.S. mail. Sorry that | forgot to indicate that in my
letter.

Thank you in advance for your consideration of this matter.

Sincerely,

Xu-Shen Zhou, a/k/a, Jason Zhou

Cc: Douglas J. Goglia, AAG (via first-class U.S. mail}
Office of the Attorney General
The Capitol
Albany, NY 12224
